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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

STATE AUTO PROPERTY &                         :      CIVIL ACTION NO: 21-2174
CASUALTY INSURANCE CO.                               SEC. B-2

VERSUS                                        :      JUDGE LEMELLE

TAYLOR FORTUNE GROUP
TENNESSEE, LLC                                :      MAGISTRATE JUDGE CURRAULT


           DEFENDANTS’ SUPPLEMENTAL WITNESS AND EXHIBIT LIST

       NOW INTO COURT, through undersigned counsel, comes Defendant, Taylor Fortune

Group Tennessee, LLC, who respectfully submits the following supplemental list of witnesses and

exhibits in support of its counterclaims against Plaintiff, State Auto Property & Casualty Insurance

Co., in accordance with the Order dated April 4, 2023:


   A. WITNESSES

           1. James Shelton- member of Taylor Fortune Group, LLC (identified previously in

               TFG’s original Witness and Exhibit List)- will testify as to the tender of the claim,

               the circumstances pertaining to State Auto’s denial of same, and/or the extent of

               damages incurred as a result thereof- to be contacted through undersigned;

           2. Matthew Martin- member of Taylor Fortune Group, LLC (identified previously in

               TFG’s original Witness and Exhibit List)- will testify as to the tender of the claim,

               the circumstances pertaining to State Auto’s denial of same, and/or the extent of

               damages incurred as a result thereof- to be contacted through undersigned;
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B. EXHIBITS

     1. State Auto business insurance policy No. PBP 2855775 00 (identified previously

        in TFG’s original Witness and Exhibit List);

     2. State Auto business insurance policy No. PBP 2855775 01(identified previously in

        TFG’s original Witness and Exhibit List);

     3. Initial Complaint filed in the Underlying Action, Kytch, Inc. v. Jonathan Tyler

        Gamble; J.L. Gamble Management, LLC dba McDonald’s; TFGroup LLC; and

        Taylor Commerical Foodservice, LLC dba Taylor Company, Superior Court for the

        State of California for the County of Alameda, case number RG21099155

        (identified previously in TFG’s original Witness and Exhibit List);

     4. First Amended Complaint filed in the Underlying Action, Kytch, Inc. v. Jonathan

        Tyler Gamble; J.L. Gamble Management, LLC dba McDonald’s; TFGroup LLC;

        and Taylor Commerical Foodservice, LLC dba Taylor Company, Superior Court

        for the State of California for the County of Alameda, case number RG21099155

        (identified previously in TFG’s original Witness and Exhibit List);

     5. Second Amended Complaint filed in the Underlying Action, Kytch, Inc. v. Jonathan

        Tyler Gamble; J.L. Gamble Management, LLC dba McDonald’s; TFGroup LLC;

        and Taylor Commerical Foodservice, LLC dba Taylor Company, Superior Court

        for the State of California for the County of Alameda, case number RG21099155

        (identified previously in TFG’s original Witness and Exhibit List);

     6. Correspondence between the parties and/or their counsel:

            i. Correspondence letter from TFGT representative tendering the Underlying

               Action for defense and indemnity to State Auto;
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          ii. Correspondence dated November 9, 2021 from State Auto- declination

              letter;

         iii. Correspondence dated November 12, 2021 from TFGT to State Auto

              explaining the basis for necessary coverage;

         iv. Correspondence dated November 24, 2021 from State Auto- declination

              letter;

          v. Correspondence dated August 1, 2022 from State Auto- participation letter;

              and

         vi. various email correspondence between the parties and/or their counsel,

              including any and all invoices submitted for payment;

   7. Invoices pertaining to attorneys’ fees incurred to enforce State Auto coverage,

      and/or to defend against State Auto’s declaratory judgment action;

   8. Invoices pertaining to attorneys’ fees not paid, or underpaid, by State Auto

      subsequent to the filing of the First Amended Complaint in the Underlying Action;

   9. Any and all pleadings filed in the Underlying Action, Kytch, Inc. v. Jonathan Tyler

      Gamble; J.L. Gamble Management, LLC dba McDonald’s; TFGroup LLC; and

      Taylor Commerical Foodservice, LLC dba Taylor Company, Superior Court for the

      State of California for the County of Alameda, case number RG21099155

      (identified previously in TFG’s original Witness and Exhibit List);

   10. Any and all documents disclosed during the course of discovery in the Underlying

      Action, Kytch, Inc. v. Jonathan Tyler Gamble; J.L. Gamble Management, LLC dba

      McDonald’s; TFGroup LLC; and Taylor Commerical Foodservice, LLC dba

      Taylor Company, Superior Court for the State of California for the County of
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      Alameda, case number RG21099155 (identified previously in TFG’s original

      Witness and Exhibit List, and to be supplemented as that matter proceeds);

   11. Any deposition transcripts, and exhibits to same, taken in this matter (identified

      previously in TFG’s original Witness and Exhibit List);

   12. Any exhibit introduced in the Underlying Action (identified previously in TFG’s

      original Witness and Exhibit List);

   13. Any exhibit introduced by State Auto (identified previously in TFG’s original

      Witness and Exhibit List);

   14. Any exhibit needed for impeachment or rebuttal (identified previously in TFG’s

      original Witness and Exhibit List);


                                            Respectfully submitted,

                                            SCOTT VICKNAIR, LLC



                                            ____/s/ Caitlin B. Carrigan________
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                                            ATTORNEYS FOR DEFENDANT



                                               /s/ Thomas P. Diaz
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                                 CERTIFICATE OF SERVICE

       I hereby certify that the foregoing pleading was electronically filed with the Clerk of Court

through the CM/ECF system and all registered counsel were electronically notified and all non-

CM/ECF participants were otherwise served by electronic transmission, facsimile transmission

and/or U.S. Mail, properly addressed and postage prepaid this 10th day of April, 2023.



                                  _____/s/ Caitlin B. Carrigan_______
                                           Caitlin B. Carrigan
